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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

 UNITED STATES OF AMERICA                 §
                                          §
 v.                                       §
                                          §     No. 1:23-CR-00215-RP
 (1) CHRISTOPHER DAVID                    §
 FRIEDEL,                                 §
 Defendant                                §


                                      ORDER

        After consideration of Defendant’s Unopposed Oral Request regarding pretrial

detention housing made at his June 21, 2024, detention hearing the Court orders the

United States Marshals to house defendant in the Bastrop County Jail.

        IT IS HEREBY ORDERED that, the Defendant, CHRISTOPHER DAVID

FRIEDEL, is committed to the custody of the Attorney General or his designed

representative for confinement in the Bastrop County Jail for the pendency of this

case.

        IT IS FURTHER ODERED that the United States Marshal shall transport

CHRISTOPHER DAVID FRIEDEL to the Bastrop County Jail as soon as practical.

        SIGNED June 21, 2024.



                                       DUSTIN M. HOWELL
                                       UNITED STATES MAGISTRATE JUDGE




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